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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

    IN RE: ZANTAC (RANITIDINE)                                  MDL NO 2924
    PRODUCTS LIABILITY                                           20-MD-2924
    LITIGATION
                                        JUDGE ROBIN L. ROSENBERG
                               MAGISTRATE JUDGE BRUCE E. REINHART

    __________________________________/

    THIS DOCUMENT RELATES TO: ALL CASES


      PLAINTIFFS’ OPPOSITION TO GENERIC MANUFACTURER AND
            REPACKAGER DEFENDANTS’ RULE 12 MOTION
    TO DISMISS CLASS COMPLAINTS ON THE GROUND OF FAILURE TO
                        ALLEGE AN INJURY




         DATED: November 9, 2020
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             Plaintiffs submit the following memorandum of law in opposition to the

    Generic Manufacturer and Repackager Defendants’ Rule 12 Motion to Dismiss

    Class Complaints on the Ground of Failure to Allege an Injury. D.E. 2037 (Injury

    Mot.).

                                     INTRODUCTION

             Consumers and third-party payors (TPPs) spent billions on ranitidine, a

    product we now know produces high levels of NDMA, a potent carcinogen.

    Consumer Class Action Complaint (CCAC), D.E. 889 ¶¶ 1–2, 427, 499, 756–57;

    Third Party Payor Class Complaint (TPPCAC), D.E. 888, ¶¶ 495, 522, 562, 577,

    586, 618, 675. The Consumers are at an increased risk of developing cancer, and

    will reasonably need costly medical monitoring to diagnose adverse health

    developments in time to treat them. The CCAC and TPPCAC alleged hundreds of

    counts under federal law and the law of every state, the District of Columbia, and

    Puerto Rico. Defendants seek to dismiss every last count on a single theory: neither

    complaint alleges an injury.

             Defendants’ gambit fails. Binding Eleventh Circuit case law holds that

    products that are so unsafe that they are illegal to buy or sell are also economically

    worthless and give rise to constitutional injury in fact when plaintiffs purchase them.

    The complaints carefully allege that ranitidine is just such a product. Even leaving

    aside any regulatory bar on sales, a reasonable consumer would not have purchased


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    ranitidine at all (much less for the same price), and TPPs would not have covered it,

    if Defendants had disclosed that it contains a carcinogen. The consumers allege the

    additional injuries of unwittingly ingesting a carcinogen without their consent and

    requiring periodic, costly medical surveillance necessary to detect physical harm due

    to Plaintiffs’ increased risk of developing cancer. Plaintiffs suffered multiple forms

    of injury that suffice to show standing.

          Unable to sustain their Article III challenge, Defendants repackage their

    argument under the “economic-loss rule,” which, they insist, bars the TPPs’ claims.

    But Defendants fail entirely to explain which states apply this rule, and under what

    circumstances. Incanting the words “economic loss rule” and nothing more cannot

    provide a ground to dismiss a claim. Only applicable law can do that.

          The final request in Defendants’ motion to dismiss does not actually seek to

    dismiss anything. In yet another effort to smuggle Rule 23 arguments into a 12(b)(6)

    motion, cf. Opp’n on Shotgun Pleadings and Article III Standing, D.E. 1980 at 14–

    16, Defendants argue that any medical monitoring remedy be deemed “not injunctive

    relief.” Injury Mot. at 17. The type of relief sought may well impact the sort of class

    the Court may eventually certify. Compare Fed. R. Civ. P. 23(b)(2) with 23(b)(3).

    But it has absolutely no bearing on whether Plaintiffs state a claim upon which relief

    can be granted, which is the sole inquiry on a Rule 12(b)(6) motion to dismiss. No

    doubt that is why all of Defendants’ cited cases turn on questions of class

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    certification, which they can brief at the appropriate time. See Pre-Trial Order 36,

    D.E. 1346 (limiting briefing to Rule 12 motions for these rounds). What they cannot

    do is treat a “motion to dismiss” as an open-ended wish list for all manner of judicial

    relief that is unmoored from the text, purpose, and structure of Rule 12(b)(6).

    Defendants’ motion should be denied.

                                        ARGUMENT

    I.    Legal Overview

          A complaint will survive a motion to dismiss if it “contain[s] sufficient factual

    matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’ A

    claim has facial plausibility when the plaintiff pleads factual content that allows the

    court to draw the reasonable inference that the defendant is liable for the misconduct

    alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citations omitted). Whether

    well-pleaded facts amount to a claim turns on that claim’s elements under

    substantive law, which is why “[i]n Twombly, the Court found it necessary first to

    discuss the antitrust principles implicated,” and did the same for supervisory liability

    in Iqbal. Id. at 675. Analogously, whether the pleaded facts demonstrate standing

    turns on the elements of standing under federal constitutional doctrine. See Spokeo,

    Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (“the plaintiff must ‘clearly . . . allege

    facts demonstrating’ each element [of standing]”).

          The “irreducible constitutional minimum of standing” has three elements:


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                 [1] an injury in fact—an invasion of a legally protected
                 interest which is (a) concrete and particularized, and (b)
                 actual or imminent, not conjectural or hypothetical[;]
                 [2] a causal connection between the injury and the conduct
                 complained of—the injury has to be fairly traceable to the
                 challenged action of the defendant, and not the result of
                 the independent action of some third party not before the
                 court[; and]
                 [3] it must be likely, as opposed to merely speculative, that
                 the injury will be redressed by a favorable decision.

    Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992) (quotations, citations, and

    alterations removed).

          The claims alleged in the class complaints turn on elements supplied by state

    law.1 When sitting in diversity, federal courts are required to apply the substantive

    law of the states. Erie R. Co. v. Tompkins, 304 U.S. 64, 78 (1938). On questions of

    state law, this Court is bound by the rulings of state supreme courts. Where a state’s

    highest court has not addressed a question, “federal courts are bound by decisions of

    a state’s intermediate appellate courts unless there is persuasive evidence that the

    highest state court would rule otherwise.” Bravo v. United States, 577 F.3d 1324,

    1325 (11th Cir. 2009) (per curiam) (internal quotation marks omitted). When there

    is no state decision on point, a federal court must act as a state court would,

    predicting as best it can how the state’s highest court would rule. Id. at 1325–26.


    1
      The charts in Plaintiffs’ Class Standing and Shotgun Pleading Opposition, D.E.
    1980, set out the universe of claims in a concise, visual form. See id. at 4, Figure 1
    (summarizing the CCAC claims); id. at 5, Figure 2 (summarizing the TPPCAC
    claims).
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          For a Rule 12 motion to succeed on a particular state law claim under Iqbal,

    it would be “necessary first to discuss the [substantive legal] principles implicated”

    to identify the claim’s elements—which would require an Erie prediction—and next

    to identify an essential element of the claim that was not pleaded in the complaint.

    556 U.S. at 675.

    II.   Plaintiffs’ Injuries Are Cognizable

          Defendants do not explain whether their Rule 12 Motion is brought under Rule

    12(b)(1) (“lack of subject-matter jurisdiction”) or Rule 12(b)(6) (“failure to state a

    claim”). See Injury Mot. at 4–5 (arguing courts dismiss similar actions “under Rule

    12(b)(1)” or “Rule 12(b)(6)”). The distinction is crucial. If the former, dismissal

    must be without prejudice, but see id. at 18 (“all claims . . . must be dismissed with

    prejudice”), and the Court could not address state law merits questions. See Steel

    Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94 (1998) (“Jurisdiction is power to

    declare the law, and when it ceases to exist, the only function remaining to the court

    is that of announcing the fact and dismissing the cause.” (citation omitted)). If the

    latter, the analysis depends on the elements of substantive state law, and would need

    to be decided under the framework of an Erie prediction, not the constitutional

    standing inquiry for redressable economic injury.2 Defendants blur the line between


    2
      Whatever Justice Story’s reservations, the Supreme Court long ago recognized
    state judicial decisions as “law” that supply the relevant rule of decision in diversity

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    jurisdiction and the merits in hopes of obtaining the best of both worlds: dismissal

    with prejudice (to prevent refiling in state court), but under federal law at one stroke

    (to avoid the hard work of actually explaining varied state law).

          This Court should not allow that legerdemain. The ruse depends on treating

    the separate legal definitions of the word “injury” as interchangeable.             For

    constitutional purposes, injury in fact refers to a wide category of harms that can

    form the basis of an Article III “case” or “controversy.” By contrast, injury at law

    turns on whether state statutory or common law authorizes a recovery. Injury in fact

    concerns jurisdiction, which must be transsubstantive and focused on the nature of

    judicial power to resolve disputes. Injury at law turns on the merits, which can be

    either quite general (anyone aggrieved has a claim) or can require as an element very

    particular kinds of injury (invasion of privacy; injury to competition; physical injury;

    reputational injury; out-of-pocket losses, and so on).

          If, as Defendants intimate, the laws of some states do not allow claims based

    on the sorts of injuries Plaintiffs allege, Defendants should have stated clearly which

    state laws are at issue and provided citations and legal argument. Plaintiffs are

    confident the Complaints plausibly alleged injury at law, but cannot be expected to



    cases. Cf. Erie, 304 U.S. 64, overruling Swift v. Tyson, 41 U.S. 1 (1842) (Story, J.).
    By definition, federal constitutional law articulating the limits of Article III’s case
    or controversy requirement is not state substantive law on the sorts of injuries that
    support claims or remedies.
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    canvas all relevant states to shadowbox a camouflagued 12(b)(6) Motion. In the

    absence of any particular 12(b)(6) argument to refute, Plaintiffs will focus on

    standing.

          Defendants do not appear to challenge the traceability or redressability

    elements of standing. Instead, Defendants argue that both Class Complaints “Must

    Be Dismissed Entirely” because they allege no injury in fact. Injury Mot. at 4. This

    is a startling contention. It amounts to saying that even though TPPs and consumers

    paid for ranitidine that was “adulterated, misbranded, and therefore illegal to sell and

    economically worthless,” TPPCAC ¶ 9, and even though consumers “face an

    increased risk of developing cancer and will be forced to pay for and endure lifelong

    medical monitoring, treatments, and/or medications, and to live with the fear and

    risk of developing additional health consequences,” CCAC ¶ 13, nevertheless, they

    are constitutionally forbidden from even having a federal court adjudicate whether

    state law permits a recovery. That is not so.

          Plaintiffs’ allegations demonstrate standing in at least two ways. Both the

    Consumer and TPP Class Complaints allege “a type of economic injury, which is

    the epitome of ‘concrete’” injury in fact under Article III. MSPA Claims 1, LLC v.

    Tenet Fla., Inc., 918 F.3d 1312, 1318 (11th Cir. 2019). The CCAC also alleges

    physical injury, since it pleads that consumers ingested a carcinogen that presents a

    substantial risk of future health consequences.

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          A.     TPP and Consumer Plaintiffs Have Alleged a Pocketbook Injury

                 1.     Eleventh Circuit case law supports standing

          In DeBernardis v. IQ Formulations, LLC, plaintiffs alleged that a dietary

    supplement was adulterated and misbranded under the Food, Drug, and Cosmetic

    Act (FDCA), and demanded damages under state law. No. 17-CV-21562, 2018 WL

    1536608, at *2 (S.D. Fla. Mar. 29, 2018).          Relying on the same authorities

    Defendants cite here, the district court dismissed the case on standing grounds,

    because “plaintiffs alleged neither adverse health consequences nor that the

    supplements failed to perform as advertised.” Id. The Eleventh Circuit vacated and

    remanded on appeal. See Debernardis v. IQ Formulations, LLC, 942 F.3d 1076,

    1080 (11th Cir. 2019).

          The Eleventh Circuit started with first principles: “Certainly, an economic

    injury qualifies as a concrete injury.” Id. at 1084. Though “[o]rdinarily, when a

    plaintiff purchases a product with a defect, the product retains some value,” there is

    a “notable exception” when a “product is rendered valueless as a result of a defect.”

    Id. In that case, “damages will be equal to the entire purchase price of the product.”

    Id. The Court narrowed its inquiry to “two questions: (1) does a purchaser acquire

    a worthless product when he purchases an adulterated supplement? And, if so, (2)

    did the plaintiffs adequately allege that the supplements they purchased were

    adulterated?” Id. at 1085. As to the first question, the court “accept[ed], at least at


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    the motion to dismiss stage” that one “who purchased an adulterated dietary

    supplement . . . received a product that Congress judged insufficiently safe for

    human ingestion,” and consequently of “no value.” Id. The court further accepted

    the plaintiffs’ allegations that the supplement was adulterated. Id. The same

    reasoning applies here.

          First, if an adulterated supplement is worthless, surely an adulterated or

    misbranded drug is too. That is sufficient here, since ranitidine is governed by the

    FDCA, the very same statute at issue in Debernardis. Still, it bears mention that the

    logic of the Eleventh Circuit opinion is not limited to a product deemed unsafe under

    federal law. The case itself starts from the premise that some serious defects render

    a product valueless, then concludes that an adulterated supplement fits within that

    category. Any sufficiently serious defect—including that a product is valueless by

    operation of state law—could produce the same result.3 The TPPs allege that their


    3
      In the criminal law context, courts consistently find that consumers suffer a loss
    when they purchase a drug of unknown safety or efficacy. See United States v.
    Bhutani, 266 F.3d 661, 670 (7th Cir. 2001) (“[M]edical effectiveness of the drug or
    its dangerousness after adulteration ought not be the core of the inquiry; . . . there
    was indeed loss to consumers because consumers bought drugs under the false belief
    that they were in full compliance with the law.”); United States v. Marcus, 82 F.3d
    606, 610 & n.3 (4th Cir. 1996) (because “consumers would not purchase a drug of
    unknown safety and efficacy at any price,” a drug company’s gross sales “were the
    appropriate measure of the actual loss suffered by consumers”; irrespective of
    whether the drug “was actually safe and effective, customers suffered a loss by not
    receiving a drug of known safety and efficacy”); United States v. Milstein, 401 F.3d
    53, 74 (2d Cir. 2005) (“contaminated medicine” may be found to be “worthless to
    the consumer”).
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    economic losses stem “from making payments or reimbursements for purchases of

    a product that should not have been available for sale in the U.S., for which they

    would not have made payments or reimbursements, but for Defendants’ unlawful

    conduct.” TPPCAC ¶ 12; see also id. ¶¶ 493, 495 522, 559, 615, 638–40, 643–44,

    649, 651, 659, 675. The Consumer Plaintiffs similarly allege that Defendants

    engaged in acts “with the common purpose of obtaining significant monies and

    revenues from Plaintiffs and Class members based on the concealment of the truth,

    while providing Zantac drugs that were worth significantly less than the purchase

    price paid.” CCAC ¶ 789.

          Second, both the TPP Complaint and the Consumer Complaint allege that

    ranitidine is, and has long been, misbranded and adulterated. E.g., TPPCAC ¶¶ 335–

    41 (Section IX entitled, “Defendants’ Ranitidine-Containing Products Are

    Misbranded and Adulterated Because They Contain Biologically Relevant Levels of

    NDMA”); CCAC ¶¶ 595–604 (detailing Section III D, same). These allegations are

    detailed and plausible. It is telling that although the Class Complaints use the terms

    “adulterate” or “misbrand” more than one hundred times, no form of those words

    appear in Defendants’ Motion even once.

          Even worse for Defendants than Debernardis’s holding is the theory it

    expressly rejected: theirs.   Defendants’ legal theory is that a class action for

    “economic loss” is unavailable “when the drug at issue was effective for its approved

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    indication and benefitted the class members.” Injury Mot. at 7. The Eleventh Circuit

    summarized defendants’ argument similarly: they argued no standing existed

    “because the complaint included no allegation that the supplements failed to perform

    as advertised or were purchased at a premium due to a misrepresentation about the

    product.” 942 F.3d at 1085–86 (emphasis added). While “these allegations [a]re

    sufficient to establish standing,” they are not “necessary to establish standing.” Id.

    at 1086 (emphasis in original).4 Judge Sutton, concurring, stated the issue even more

    simply:

                 All Debernardis and Damore say is that they would not
                 have bought the supplements had they known that IQ
                 Formulations failed to comply with federal law.
                 Debernardis and Damore nonetheless plausibly allege an
                 injury in fact—that they paid more for IQ Formulations’
                 dietary supplements than they would have paid had they
                 known the company did not follow the law. This

    4
      See also 942 F.3d at 1087 (“[A]t least one other circuit has recognized that . . . an
    economic injury occurs when the purchaser acquires a worthless product, even if
    there is no indication that she was physically harmed by the product, the product
    failed to work as intended, or she paid a premium for the product.”) (citing In re
    Aqua Dots Prods. Liab. Litig., 654 F.3d 748, 751 (7th Cir. 2011) (“none of the
    plaintiffs (or their children) was injured by swallowing the [toxic] beads. This means
    that members of the class did not suffer physical injury, but it does not mean that
    they were uninjured. The plaintiffs’ loss is financial: they paid more for the toys
    than they would have, had they known of the risks the beads posed to children. A
    financial injury creates standing.”)); Franz v. Beiersforf, Inc., 745 F. App’x 47, 49
    (9th Cir. 2018) (plaintiff had standing where she claimed injury from purchasing a
    skin lotion that qualified as a “drug” under the Food Drug and Cosmetic Act, but
    had not been approved by the FDA); Blue Cross Blue Shield Ass’n v.
    Glaxosmithkline LLC, 417 F. Supp. 3d 531 (E.D. Pa. 2019) (denying summary
    judgment and finding that the TPP plaintiffs had alleged injury in fact to support
    standing where they paid for drugs non-compliant with CGMPs).
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                  difference in price states a concrete economic harm that
                  satisfies Article III standing’s injury in fact element, no
                  matter the label we give it.

    Id. at 1090 (Sutton, J., concurring). The en banc Eleventh Circuit recently reaffirmed

    Debernardis: “Although the plaintiffs suffered no physical harm from the

    supplement, we concluded that they were sold a worthless product ‘that Congress

    judged insufficiently safe for human ingestion.’ Id. at 1085. That deprived the

    plaintiffs of the benefit of their bargain and amounted to a direct economic loss that

    supported standing.” Muransky v. Godiva Chocolatier, Inc., No. 16-16486, 2020

    WL 6305084, at *6 (11th Cir. Oct. 28, 2020).

          Defendants’ sole mention of this controlling precedent is buried at the tail end

    of a half-page-long string cite contained in a single-spaced footnote. Injury Mot. at

    5, n.3; but see Mazzeo v. Nature’s Bounty, Inc., No. 14-60580, 2014 WL 5846735,

    n.1 (S.D. Fla. Nov. 12, 2014) (“Defendant also raises a standing argument in a

    footnote, ‘which [is] the wrong place for substantive arguments on the merits of a

    motion.’     The Court accordingly will not consider this argument.” (citations

    omitted)).    In two dismissive sentences, Defendants claim Debernardis is

    “distinguishable” because ranitidine was “lawfully sold at the time of purchase” and

    also “involved a different regulatory framework.” Injury Mot. at 5, n.3 (internal

    quotations and citations omitted).      Defendants’ conclusory distinctions do not

    withstand scrutiny. By repeatedly alleging that ranitidine was misbranded and


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    adulterated, the Class Complaints pleaded that the drug was not “lawfully sold at the

    time of purchase.” Defendants imply that some proceeding declared the supplement

    at issue in Debernardis adulterated, but that is not true.        The defendants in

    Debernardis—like Defendants here—vigoriously disputed that their product was

    adulterated, but the court adhered to the allegations in the complaint. 942 F.3d at

    1085, n.5.

          Though Debernardis left open the situation of “a product that was lawfully

    sold at the time of purchase but whose sale later was prohibited,” id. at 1088, n.8

    (citing O’Neil v. Simplicity, Inc., 574 F.3d 501, 504 (8th Cir. 2009)), that is no help

    to Defendants. Ranitidine was not lawfully sold, at least as soon as Defendants knew

    or should have known that the molecule breaks down into NDMA. 21 U.S.C.

    §§ 351–52. That the FDA recognized this at a point in time (and requested a recall),

    does not mean that the FDCA’s provisions did not apply before that. To put the

    same point a different way, if the FDA had—after the relevant sales—ordered the

    defendant in Debernardis to recall its product, that would not have cast standing into

    doubt for sales that occurred before the recall.

                 2.     Defendants’ other arguments are unavailing because each
                        plaintiff purchased a defective product

          Defendants’ primary argument boils down to the idea that a plaintiff cannot

    sue merely because a product bought by someone else was defective. That principle



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    is incorrect, since defects can affect the value of the product.5 Even if it were correct,

    that principle has no application here, because Plaintiffs allege that all ranitidine

    breaks down into NDMA and can cause cancer. To illustrate this, consider that the

    ranitidine plaintiffs who now have cancer took was no different—as far as the

    pleaded allegations go—from the ranitidine that others ingested. That only some

    plaintiffs have developed cancer by now does not prove the ranitidine others took

    was any different, or less defective. Purchasing a defective drug is an injury.

          Similar principles distinguish Defendants’ primary, out-of-circuit case,

    Rivera v. Wyeth-Ayerst Labs., 283 F.3d 315 (5th Cir. 2002). There, Wyeth sold

    Duract with a warning that it could cause liver failure, and so should be used “only

    for the short term (10 days).” Id. at 317. Many patients used it longer anyway, and

    some of them were injured, leading Wyeth to recall the drug. Plaintiffs brought a


    5
      See, e.g., In re Toyota Motor Corp. Unintended Acceleration Mktg., Sales
    Practices, & Prods. Liab. Litig., 754 F. Supp. 2d 1145, 1162 (C.D. Cal. 2010)
    (“According to Plaintiffs’ allegations, Toyota vehicles with [electronic throttle
    control systems] dropped in value owing to the alleged SUA [sudden unintended
    acceleration] defect. If a defect causes SUA to manifest itself in a small percentage
    of Toyota vehicles, it makes sense that people would be less willing to buy or use
    those vehicles on the off-chance that they might experience the SUA defect. . . .
    Hence, the alleged economic loss.”); Cole v. Gen. Motors Corp., 484 F.3d 717, 722–
    23 (5th Cir. 2007) (rejecting defendants’ argument that plaintiffs lacked standing
    “[b]ecause plaintiffs’ air bags never deployed inadvertently” on the reasoning that
    “each plaintiff suffered economic injury at the moment she purchased a DeVille
    because each DeVille was defective. . . . Whether recovery for such a claim is
    permitted under governing law is a separate question; it is sufficient for standing
    purposes that the plaintiffs seek recovery for an economic harm that they allege they
    have suffered.”).
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    class-action suit, but the Fifth Circuit dismissed the suit on standing grounds. The

    problem was that “[t]he plaintiffs do not claim Duract caused them physical or

    emotional injury . . . or has any future health consequences to users . . . . The

    plaintiffs claim that Wyeth . . . [sold] a defective drug, but then aver that the drug

    was not defective as to them,” and plaintiffs “concede[d] they were not among the

    injured.” Id. at 319–20 (emphasis added). In other words, unlike in this case,

    plaintiffs pleaded themselves out of court, as the class was full of people who used

    Duract as intended—for short periods—and alleged neither any ill effects nor any

    risk of latent injuries. Ranitidine is nothing like this, since Consumer Plaintiffs

    alleged that they “face an increased risk of developing cancer and will be forced to

    pay for and endure lifelong medical monitoring, treatments, and/or medications, and

    to live with the fear and risk of developing additional health consequences.” CCAC

    ¶ 13.6



    6
      Contrary to Defendants’ suggestion, the Middle District of Florida did not even
    cite Rivera in Ironworkers Local Union No. 68 v. AstraZeneca Pharmaceuticals LP,
    585 F. Supp. 2d 1339 (M.D. Fla. 2008). Compare Injury Mot. at 10 (suggesting
    Ironworkers as an “example” of courts that “applied the reasoning in Rivera).
    Perhaps Defendants meant the Eleventh Circuit case, which cited Rivera for the
    unrelated proposition that the plaintiff needed to allege that a prescription was one
    “the physician should not have prescribed because the drug was unsafe or ineffective
    for its prescribed use.” Ironworkers Local Union 68 v. AstraZeneca Pharm., LP,
    634 F.3d 1352, 1363 (11th Cir. 2011). If Defendants meant to imply that Rivera has
    been accepted in this Circuit, that is dubious. The only other case to cite it
    distinguishes it tersely as arising under different state law. See London v. Wal-Mart
    Stores, Inc., 340 F.3d 1246, 1252 (11th Cir. 2003).
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          B.     Consumer Plaintiffs Have Alleged Other Forms of Economic
                 Injury and Physical Injuries

          Beyond the economic harms noted above, which themselves establish

    standing, the consumer class plaintiffs allege that they “have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.” CCAC

    ¶ 1602. Defendants do not engage with this injury. They do not explain if a

    particular feature of Plaintiffs’ medical monitoring allegations are supposedly

    insufficient or if their argument is simply that medical monitoring classes never have

    standing. The leading case in this District on this question comes from Judge

    Rosenbaum, who carefully examined nationwide precedent and concluded that

    “courts that have considered the issue specifically in the context of medical

    monitoring have held that an alleged increased risk of future harm satisfies Article

    III’s injury-in-fact requirement.” Bouldry v. C.R. Bard, Inc., 909 F. Supp. 2d 1371,

    1375 (S.D. Fla. 2012) (collecting cases).7 Defendants make no attempt to explain

    why Bouldry and other cases are not persuasive here.


    7
     See also Sutton v. St. Jude Med. S.C., Inc., 419 F.3d 568 (6th Cir. 2005); In re Agent
    Orange Product Liab. Litig., 996 F.2d 1425, 1434 (2d Cir. 1993) (rejecting argument
    that injury in fact means injury that is manifest, diagnosable or compensable; “some
    types of injury to the body occur prior to the appearance of any symptoms; thus, the
    manifestation of the injury may well occur after the injury itself”), overruled on
    other grounds by Syngenta Crop Prot., Inc. v. Henson, 537 U.S. 28 (2002); Brown
    v. C.R. Bard, Inc., 942 F. Supp. 2d 549 (E.D. Pa. 2013) (plaintiffs who had defective
    medical devices implanted have alleged an injury in fact); In re Welding Fume
    Prods. Liab. Litig., 245 F.R.D. 279, 287 n.37 (N.D. Ohio 2007) (“plaintiffs clearly

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          The consumer plaintiffs also allege they have “been subjected to the

    accumulation of NDMA in their bodies, including the resulting cellular damage,

    subcellular damage, and related symptoms; and . . . sustained a significantly

    increased risk of developing various types of serious and potentially deadly cancers.”

    CCAC ¶ 1601. Defendants baldly deny that such changes count as physical or

    personal injury, but rely entirely upon cases that, amazingly, address neither

    standing nor state law on medical monitoring. See Injury Mot. at 11–12 (first citing

    Caputo v. Bos. Edison Co., No. CIV. A. 88-2126-Z, 1990 WL 98694, at *4 (D. Mass.

    July 9, 1990) (rejecting “cellular damage” on the merits applying Massachusetts law

    not involving medical monitoring),8 then citing Ranier v. Union Carbide Corp., 402

    F.3d 608, 621–22 (6th Cir. 2005) (construing the federal Price Anderson Act, finding

    no “bodily injury” for a damages claim under Kentucky law, in part due to difficulty




    have standing under Article III to assert their claims for medical monitoring”);
    Carlough v. Amchem Prods., Inc., 834 F. Supp. 1437, 1454 (E.D. Pa. 1993)
    (“exposure to a toxic substance constitutes sufficient injury in fact to give a plaintiff
    standing to sue in federal court”); cf. Petito v. A.H. Robins Co., Inc., 750 So. 2d 103,
    106–07 (Fla. Ct. App. 1999) (recognizing a cause of action for medical monitoring
    under Florida law when a consumer has yet to develop any identifiable physical
    injuries or symptoms).
    8
      But see Donovan v. Philip Morris USA, Inc., 914 N.E.2d 891, 902 (Mass. 2009)
    (requiring plaintiffs to show “at least, subcellular changes that substantially
    increase[] the risk of serious disease” for a medical monitoring claim) (emphasis
    added).
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    determining “how damages could presently be calculated”),9 then citing In re Berg

    Litig., 293 F.3d 1127, 1133 (9th Cir. 2002) (in light of the “purposes behind the

    [federal] enactment of the Price Anderson Act,” the statutory term “bodily injury”

    did not include “a future risk of disease”)).

          C.     The PTO Does Not Require Class Allegations to Be Repleaded in
                 the MPIC

          Defendants urge that the “Orders of this Court” require that the putative Class

    Representative Plaintiffs replead the Class Complaints to include them within the

    MPIC. Injury Mot. at 13. To the extent this is merely a housekeeping request,

    Plaintiffs respectfully disagree with Defendants’ interpretation of this Court’s

    orders. The MPIC is not a class complaint, and adding these claims there would not

    streamline this MDL. To the extent Defendants hope to whittle down Plaintiffs’

    claims substantively, Plaintiffs would simply point out that this Court’s Orders were

    never meant to exclude any type of claim, but to coordinate them. The three master

    complaints do this job serviceably.




    9
     The distinction between medical monitoring and other claims is crucial. See In re
    Paoli R.R. Yard PCB Litig., 916 F.2d 829, 861 (3d Cir. 1990) (“Because the district
    court appears to have applied the standards for enhanced risk claims in an action for
    medical monitoring, we find error, and we will therefore reverse the grant of
    summary judgment on this point.”).
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    III.   Defendants Cannot Urge Dismissal on “Economic-Loss Rule” Grounds
           Without Identifying a Positive Source of Law

           Defendants argue “only one version of the [economic-loss] rule,” namely, that

    “between commercial parties, claims for injury to the product itself without personal

    injury or other-property damage are contractual and not tort claims.” Injury Mot. at

    15, n.9. Defendants cite a sum total of two authorities: an A.L.R. article from 1989,

    and East River Steamship Corp. v. Transamerica Delaval, 476 U.S. 858 (1986). See

    Injury Mot. at 13–15.     As Defendants themselves recognize, East River was

    “[a]pplying admiralty law.” Injury Mot. at 14. None of the TPP claims accuse

    Defendants of misconduct on the high seas.

           At minimum, to warrant dismissing any claims Defendants would need to

    identify law incorporating their proposed rule that applies in this case. Defendants

    do not even attempt to meet this standard. At most, Defendants’ argument is that

    dicta from a 1980s admiralty case recognized a “majority approach” that they claim

    helps them. Even if true, that does not provide this Court grounds to dismiss any

    claims, since Defendants do not even identify which jurisdictions apply this

    purported “majority” rule. General averments that “‘nearly all’ of plaintiffs’ state-

    law claims” fail cannot suffice, since such generalities provide no “helpful or

    specific analysis to assist [a court] in drawing those lines.” In Re: Juul Labs, Inc.,

    Mktg., Sales Practices, & Prods. Liab. Litig., No. 19-MD-02913-WHO, 2020 WL

    6271173, at *12 (N.D. Cal. Oct. 23, 2020) (deferring resolution to “the bellwether
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    stage or a different, later date.”). Plaintiffs should not be required to repulse a

    phantom.10

          Defendants’ argument is forfeited and erroneous. It should be rejected.

    IV.   Plaintiffs Properly Pleaded Available Remedies

          A.     Plaintiffs’ Medical Monitoring Request Should not Be Dismissed

          Defendants’ arguments are, yet again, procedurally improper. For almost 100

    years, the Federal Rules have applied to both actions at law and cases in equity—

    regardless of the label affixed to the remedy, plaintiffs bring one form of “civil

    action.” See Fed. R. Civ. P. 1, Advisory Note 3. Rule 12 instructs that a defendant

    may assert by motion a “defense to a claim.” Fed. R. Civ. P. 12(b) (emphasis added).

    Defendants do not present a “defense to a claim,” and one can be perfectly sure of

    that because they say it expressly: “Defendants are moving as to the request for an

    injunction and reserve the arguments that the Consumer Plaintiffs failed to state

    claims for medical monitoring under applicable states’ laws.” Injury Mot. at 16 n.10

    (emphasis added). Defendants are not claiming that the pleaded independent cause

    of action or relief for a recognized tort claim is unavailable—only that, whether



    10
       Plaintiffs have responses on the merits and stand ready to brief the issue at a later
    stage. Other MDL courts have rejected similar arguments after careful briefing.
    See, e.g., In re Nat’l Prescription Opiate Litig., 440 F. Supp. 3d 773, 814 (N.D.
    Ohio 2020) (upholding third-party-payor negligence claims, and citing cases); In re
    EpiPen (Epinephrine Injection, USP) Mktg., Sales Practices & Antitrust Litig., 336
    F. Supp. 3d 1256, 1326, (2018) (rejecting economic loss argument).
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    available or not, this Court should label it as “not injunctive relief.” Injury Mot. at

    17. In the 19th Century, Defendants may have had a point: whether a chancellor or

    a law judge should adjudicate a dispute was jurisdictionally relevant. Today,

    Defendants’ desire to recategorize the form of relief is both irrelevant and improper

    at this procedural posture—Defendants’ sole reason for raising it is to preview their

    class certification argument. As Professor Rubenstein has noted,

                 Medical monitoring has proved confusing to the courts . . .
                 [including] whether it represents injunctive . . . or
                 monetary relief . . . . [That] question is obviously key for
                 class certification purposes—if medical monitoring
                 represents only injunctive relief ordering a defendant to
                 provide a service, medical monitoring classes may be
                 maintainable under Rule 23(b)(2); however, if medical
                 monitoring is monetary relief, (b)(2) certification will
                 likely be unavailable [requiring certification through
                 (b)(3)].

    2 Newberg on Class Actions § 4:45 (5th ed.).

          The distinction between dismissing a claim under Rule 12 and deciding class

    certification under Rule 23 matters. None of the cases Defendants cite involved a

    Rule 12 motion—all involved a motion for class certification. See Injury Mot. at

    15–18 (citing cases). That is no doubt because Rule 12 does not allow Defendants

    to recharacterize the remedies Plaintiffs seek. Rule 8’s pleading standard requires

    only that a plaintiff plead “a demand for the relief sought, which may include relief

    in the alternative or different types of relief.” Fed. R. Civ. P. 8(a)(3). There is no

    question that the CCAC satisfies this standard. Plaintiffs are still engaged in
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    discovery, have not yet moved for class certification, and have not yet detailed the

    contours of the medical monitoring relief they will seek. No rule requires Plaintiffs

    to do so, and PTO 30 does not contemplate class certification motion practice until

    December 20, 2021. See D.E. 875. Defendants’ Rule 12 motion should be denied.11

          B.     Because Defendants May Seek to Market Ranitidine in the
                 Future, Plaintiffs’ Request for Injunctive Relief Is not Moot

          The Supreme Court’s test “for determining whether a case has been mooted

    by the defendant’s voluntary conduct is stringent: . . . if subsequent events ma[k]e it

    absolutely clear that the allegedly wrongful behavior could not reasonably be

    expected to recur.” Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc.,

    528 U.S. 167, 189 (2000) (internal quotation marks omitted). Defendants argue that

    “This Court cannot enjoin something that is not happening,” but this is not the

    standard for mootness. Injury Mot. at 18. The FDA sought voluntary consent for a

    recall “to protect the public health from products that present a risk of injury.” D.E.

    889 ¶ 711. The FDA’s order is not a permanent order, and it is not “absolutely clear”

    that Defendants will never again sell ranitidine.


    11
       Plaintiffs used the shorthand of “create a fund to pay for medical monitoring” as
    part of a redressability argument, but that does not limit the relief Plaintiffs can seek
    or that the Court can award. See Fed. R. Civ. P. 54(c) (the Court may grant any relief
    to which a prevailing party is entitled, “even if the party has not demanded that relief
    in its pleadings.”); see also TPPCAC, Prayer for Relief (“Award such further and
    additional relief as is necessary to redress the harm caused by Defendants’ unlawful
    conduct and as the Court may deem just and proper under the circumstances”);
    CCAC, Prayer for Relief (same).
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          The Eleventh Circuit has elaborated three factors for mootness in this context:

                 (1) whether the challenged conduct was isolated or
                 unintentional, as opposed to a continuing and deliberate
                 practice; (2) whether the defendant's cessation of the
                 offending conduct was motivated by a genuine change of
                 heart or timed to anticipate suit; and (3) whether, in
                 ceasing the conduct, the defendant has acknowledged
                 liability.

    Sheely v. MRI Radiology Network, P.A., 505 F.3d 1173, 1184 (11th Cir. 2007). All

    three factors favor Plaintiffs here.

          First, Defendants sold ranitidine for decades and made billions of dollars by

    deceiving millions of consumers into purchasing and ingesting a defective,

    misbranded, adulterated, and harmful drug.        CCAC ¶¶ 1–2.      Plaintiffs allege

    Defendants engaged in a conspiracy, making their conduct even more deliberate.

    See, e.g., id. ¶¶ 754–70; see also United States v. W.T. Grant Co., 345 U.S. 629, 632

    n.5 (1953) (“When defendants are shown to have settled into a continuing practice

    or entered into a conspiracy . . . courts will not assume that it has been abandoned

    without clear proof.”) (citation omitted).

          Second, given the timing of the voluntary withdrawal, the only reasonable

    inference—and certainly a plausible one when construed in Plaintiffs’ favor—is that

    Defendants were motivated by anticipated litigation, not a change of heart. Indeed,

    the Brand-Name Manufacturer Defendants have asserted to this Court that there is

    no “real-world evidence that Zantac use increases the risk of cancer.” D.E. 1580 at


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    1; see also D.E. 1582 at 31 (Generic and Repackager Defendants’ Motion, adopting

    some “arguments [in D.E. 1582 that] apply equally to” them).

          Third, and most obviously, no Defendant has acknowledged liability. See

    United States v. Endotec, Inc., No. 606-cv-1281, 2009 WL 3111815, at *3 (M.D.

    Fla. Sept. 28, 2009) (no mootness where defendants “have continually failed to

    concede any wrongdoing and are still urging the validity of their actions”).

    Accordingly, Plaintiffs’ request for injunctive relief is not moot.

                                      CONCLUSION

          For the foregoing reasons, Generic Manufacturer and Repackager

    Defendants’ Motion to Dismiss on the Ground of Failure to Allege an Injury should

    be denied.



     Dated: November 9, 2020                       Respectfully submitted,

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                    Plaintiffs’ Leadership Development Committee




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                             CERTIFICATE OF SERVICE

          I hereby certify that on November 9, 2020, I electronically filed the

    foregoing document with the Clerk of the Court using CM/ECF and that the

    foregoing document is being served on all counsel of record or parties registered to

    receive CM/ECF Electronic Filings.

                                           /s/ Robert C. Gilbert
                                            Robert C. Gilbert




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